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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                Southern District of New York

                                                               )
                                                               )
                                                               )
FOSUN PHARMA USA INC.,                                         )
                            Plaintiff(s)                       )
                                v.                             )       Civil Action No.      1:24-cv-00115
                                                               )
                                                               )
                                                               )
TODOS MEDICAL USA, INC. and                                    )
CORONA DIAGNOSTICS LLC.
                                                               )
                           Defendant(s)                        )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
                                                    TODOS MEDICAL USA, INC.
                                                    c/o Gerald Commissiong
                                                    45 Wall Street, Suite 920
                                                    New York, NY 10005



          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                                   Eric Roman, Esq.
                                                   ArentFox Schiff LLP
                                                   1301 Avenue of the Americas, Floor 42
                                                   New York, NY 10019-6040
                                                   Tel. 212.629.3900
                                                   Fax. 212.484.3990
                                                   eric.roman@afslaw.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT

            01/12/2024                                                                          /S/ V. BRAHIMI
Date:
                                                                                    Signature of Clerk or Deputy Clerk
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